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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


ATLAS AIR, INC. and POLAR AIR CARGO
WORLDWIDE, INC.,                        Civil Action No. 1:17-cv-01953-RDM


                      Plaintiffs,
           v.

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS; INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, AIRLINE
DIVISION; AIRLINE PROFESSIONALS
ASSOCIATION OF THE INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, LOCAL
UNION NO. 1224; and INTERNATIONAL
BROTHERHOOD OF TEAMSTERS LOCAL
2750,


                      Defendants.



     PLAINTIFFS’ SUPPLEMENTAL RESPONSE TO TEAMSTERS LOCAL
      UNION NO. 1224’S MOTION TO BE DROPPED AS A DEFENDANT
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                                         INTRODUCTION

          On October 22, 2019, Teamsters Local Union No. 1224 (“Local 1224”) filed a motion to

be “dropped” as a defendant in this action. The motion followed the October 11, 2019 transfer

of Local 1224’s responsibilities as the bargaining representative of pilots employed by Atlas Air,

Inc. and Polar Air Cargo Worldwide, Inc. (collectively, “Atlas”) to the newly-chartered

Teamsters Local Union No. 2750 (“Local 2750”). Atlas opposed this motion on the grounds that

Atlas has an accrued, but not yet asserted, claim for civil contempt damages against Local 1224

for non-compliance with the preliminary injunction issued by this Court. During a status

conference on October 30, 2019, this Court questioned whether it retained jurisdiction over

Local 1224 following the transfer of bargaining responsibilities to Local 2750, given that no

claim for civil contempt damages had yet been asserted against Local 1224. In response, Atlas

requested an opportunity to file this supplemental brief addressing the jurisdictional issue. For

the reasons discussed below, Atlas agrees that this Court lacks jurisdiction over Local 1224 at

this time given that Atlas’ claim for contempt damages has not yet been asserted, and thus

hereby withdraws its opposition to dropping Local 1224 as a defendant. In doing so, Atlas

reserves its rights to assert a civil contempt damages claim in the future against Local 1224.

Atlas requests that the order dropping Local 1224 be designated as without prejudice to such

rights.

                                          BACKGROUND

          On November 30, 2017, after a three-day trial and substantial briefing from the parties,

this Court issued a Preliminary Injunction Order (the “Order”) enjoining the union Defendants

from, among other things, “authorizing, encouraging, permitting, calling, engaging in, or

continuing any strike, work stoppage, sick-out . . . slowdown . . . or other self-help against

Plaintiffs relating to the dispute or disputes arising from the Section 6 notice served in the round


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of bargaining that commenced on or about February 2016.” (Dkt No. 60 at 1.) In its opinion, the

Court determined that Local 1224 was the day-to-day bargaining representative of Atlas’ pilots

and relied on numerous ATAMs, Crew Call messages, and emails issued by Local 1224 in

determining that the union Defendants were engaged in an unlawful slowdown. See Atlas Air,

Inc. v. Int’l Bhd. of Teamsters, 280 F. Supp. 3d 59, 70, 74-75, 78-79 (D.D.C. 2017). The D.C.

Circuit Court of Appeals affirmed. See Atlas Air, Inc. v. Int’l Bhd. of Teamsters, 928 F.3d 1102

(D.C. Cir. 2019).

       On October 11, 2019, Defendant International Brotherhood of Teamsters transferred

representation of Atlas pilots from Local 1224 to newly-chartered Local 2750, leaving Local

1224 as representative of Southern Air Inc. (“Southern”) pilots (as well as other pilot groups at

non-affiliated carriers). See Def. Airline Professionals Ass’n of the Int’l Bhd. of Teamsters,

Local Un. No. 1224’s Mem. in Support of Mot. to Be Dropped as a Def. and to Substitute Newly

Chartered Teamsters Local Un. 2750 as a Def., Atlas Air, Inc. v. Int’l Bhd. of Teamsters, 1:17-cv-

01953-RDM, Dkt. No. 75 (D.D.C. Oct. 22, 2019). Local 1224 subsequently moved under

Federal Rule of Civil Procedure 25(c) to be “dropped as a defendant” in this action. See id.

Atlas filed its opposition to this motion on October 30, 2019. (Dkt. 79.) This Court held a

scheduling conference the same day. (See Declaration of Rachel Janger (“Janger Decl.”) ¶ 2, Ex.

1.)

       During the October 30 scheduling conference, the Court questioned whether any case or

controversy remained between Atlas and Local 1224. (See Janger Decl. ¶ 2, Ex. 1 at 13:4-16.)

Given that Local 2750 now represents the Atlas pilots, the Court asked counsel for Atlas whether

Atlas had a present claim for relief against Local 1224, and, if not, whether there was any basis

for the Court to retain jurisdiction over Local 1224. (Id. at 9:1-15.) Counsel for Atlas explained




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that the carrier was considering a motion for civil contempt against Local 1224, to compensate

Atlas for actual damages it has incurred due to Local 1224’s past violations of the Order. (Id. at

9:16-10:6.) In response, the Court stated, “[s]o I think that you need to resolve that question

about whether you’re seeking that relief. Because if you’re not seeking any relief from 1224, I

tend to doubt that I actually have jurisdiction with respect to claims against 1224 at this point.”

(Id. at 11:14-18.)

       Based on its research, Atlas concurs with this Court’s view that a claim for civil contempt

damages that is not yet pled cannot serve as the basis for jurisdiction over Local 1224. See Go

Fast Sports & Beverage Co. v. Buckner, 2008 WL 2852626, at *2 (D. Colo. July 23, 2008)

(finding no subject matter jurisdiction where counterclaim “is not yet plead and cannot serve as

the basis for subject matter jurisdiction”); McDowell v. Honeywell Int’l, Inc., 2002 WL

32107933, at *1 (S.D. Tex. Jan. 23, 2002) (no subject matter jurisdiction because the “Court

cannot accept hypothetical claims as a proper basis for federal jurisdiction”). While Atlas

believes that it has a compelling and actionable claim against Local 1224 (and all the

Defendants) for civil contempt damages accrued from the date of the Order, Atlas has

determined that it will not assert that claim at this time, in deference to its ongoing discussions

with Teamster representatives in connection with their mutual efforts to reach a joint collective

bargaining agreement with the Atlas and Southern pilots. For this reason, Atlas withdraws its

opposition to Local 1224’s motion to be dropped as a defendant in this case. Because Atlas does

not waive its right to move for contempt against Local 1224 at a future time, Atlas requests that




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the dropping of Local 1224 should be without prejudice to any future right to assert a claim for

accrued civil contempt damages against Local 1224.

                                          ARGUMENT

   The Dropping of Local 1224 Should Be Without Prejudice Because This Court Will
   Have Jurisdiction To Adjudicate A Future Contempt Motion Against Local 1224 And
   The Other Union Defendants.

       “A district court [has] jurisdiction to enforce the terms of a previously entered

injunction.” Am. Min. Cong. v. U.S. Army Corps of Engineers, 120 F. Supp. 2d 23, 27 (D.D.C.

2000); see also Libaire v. Kaplan, No. 06 CV 1500 DRH ETB, 2012 WL 273121, at *2

(E.D.N.Y. Jan. 30, 2012) (“A court may make an adjudication of contempt and impose a

contempt sanction even after the action in which the contempt arose has been terminated.”). In

addition to its power to coerce compliance, the Court has the power to order a non-compliant

defendant to compensate a plaintiff for damages incurred as a result of the non-compliance. See

American Airlines, Inc. v. Allied Pilots Ass’n, 228 F.3d 574, 585 (5th Cir. 2000) (in a RLA

Section 2, First, injunction case over a slowdown, court held that “[j]udicial sanctions in civil

contempt proceedings, may in a proper case, be employed for either or both of two purposes: to

coerce the defendant into compliance with the court’s order, and to compensate the complainant

for losses sustained.”) (emphasis added); United States v. Latney’s Funeral Home, Inc., 41 F.

Supp. 3d 24, 29 (D.D.C. 2014) (“A civil contempt action is characterized as remedial in nature,

used to obtain compliance with a court order or to compensate for damages sustained as a result

from noncompliance.”) (emphasis added); Unitronics (1989) (R’’G) Ltd. v. Gharb, 85 F. Supp.

3d 147, 153 (D.D.C. 2015) (“Sanctions may be imposed in civil contempt proceedings for either

or both of two purposes: to coerce the defendant into compliance with the court’s order, and to

compensate the complainant for losses sustained.”); see also In re Ransom, 599 B.R. 791, 821




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(Bankr. W.D. Pa. 2019) (“If a sanction is tied to past conduct, only, it cannot be coercive, and

thus must be solely compensatory.”).

       “If a civil contempt order is coercive in nature, the general rule is that it is mooted when

the proceeding out of which it arises terminates; on the other hand, if the need for the contempt

order survives the termination of the underlying proceeding, such as when a party must be

compensated for costs and injuries, then the contempt order does not become moot.” Ohr ex rel.

Nat’l Labor Relations Bd. v. Latino Exp., Inc., 776 F.3d 469 (7th Cir. 2015); see also Klett v.

Pim, 965 F.2d 587, 590 (8th Cir. 1992) (“In this case, the underlying injunction became moot. . .

. All the acts and omissions of which [Plaintiff] complains took place before the injunction

became moot. Because a compensatory civil contempt action is proper under these

circumstances, the district court erred in dismissing [Plaintiff’s] complaint as moot.”); In re

Keene Corp., 168 B.R. 285, 289 (Bankr. S.D.N.Y. 1994) (“If the civil contempt proceeding is

coercive in nature, the general rule is that it is mooted when the proceeding out of which it arises

is terminated. . . . If, however, the civil contempt proceeding is compensatory in nature, the

termination of the underlying action out of which the contempt hearing arose does not moot the

contempt proceeding. . . . [T]his case falls within the rule that the termination of a properly

issued order does not affect a party’s right to compensatory civil contempt damages arising from

its violation.”). And the courts have recognized that there is no statute of limitations applicable

to a compensatory civil contempt damages claim. See ABI Jaoudi & Azar Trading Corp. v.

Cigna Worldwide INS. Co., No. 91-6785, 2016 WL 3959078, at *20 (E.D. Pa. July 22, 2016)




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(“[N]o statute of limitations applies to civil contempt proceedings.”); see also Adcor Indus., Inc.

v. Bevcorp, LLC, 411 F. Supp. 2d 778, 803 (N.D. Ohio 2005).

         As these authorities establish, Atlas has a legal basis to seek compensatory civil contempt

sanctions against Local 1224 if it can show that Local 1224 violated the Court’s Order, and, in so

doing, caused financial injury to Atlas. Moreover, this Court would have jurisdiction to hear and

resolve such a motion. See Baker v. Gen. Motors Corp., 522 U.S. 222, 236 (1998) (“Sanctions

of violations of an injunction . . . are generally administered by the court that issued the

injunction.”). Thus, Atlas requests that the Court’s order dropping Local 1224 as a defendant be

without prejudice to any future motion Atlas may bring to join Local 1224 in a civil contempt

damages claim.

                                          CONCLUSION

         For these reasons, Atlas withdraws its opposition to Local 1224’s motion to be dropped

as a defendant in this case and requests that Local 1224 be dropped without prejudice.

Dated:    November 13, 2019                    Respectfully submitted,
          Washington, D.C.

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